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 5       ATTORNEYS FOR       Defendant

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 8                                     UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10                                                      ********

11    UNITED STATES OF AMERICA,                                 Case No.: 11-CR-00413

12              Plaintiff,
                                                                     STIPULATION TO CONTINUE
13            vs.                                                       STATUS CONFERENCE
                                                                               AND
14    JUAN LUIS VALTIRRA, ET AL.,                                             ORDER

15                    Defendants.

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17           IT IS HEREBY STIPULATED by and between the attorneys for the respective parties herein

18   that the Status Conference set for August 27, 2012 at 1:00 pm be continued to September 17, 2012

19   at 10:00 am, before the Honorable Anthony W. Ishii, for a Change of Plea Hearing. The continuance

20   is requested as to Defendant Juan Luis Valtirra only.

21           The parties further request the Court to enter an Order finding that the "ends of justice"

22   served by a continuance outweigh the interest of the public and the defendant in a speedy trial, and

23   that the delay occasioned by such continuance is excluded from the Act's time limits pursuant to 18

24   U.S.C. § 3161(h)(7)(A).

25   DATED: August 23, 2012.                         NUTTALL & COLEMAN

26                                                   /s/ Mark W. Coleman

27                                                   ___________________________
                                                     MARK W. COLEMAN,
28                                                   Attorney for Defendant,
                                                     Juan Valtirra
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 1   DATED: August 23, 2012.
                                             /s/ Kimberly Sanchez
 2
                                             KIMBERLY SANCHEZ,
 3                                           Assistant United States Attorney

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 5                                                 OR D ER

 6           For the reasons set forth above, the continuance requested by the parties is granted for good
 7   cause and time is excluded under the Speedy Trial Act from August 27, 2012 to, and including,

 8   September 17, 2012, at 10:00 a.m., based upon the Court’s finding that the ends of justice outweigh

 9   the public’s and the defendant’s interest in a speedy trial. 19 U.S.C. § 3161(h)(7)(A).

10          IT IS SO ORDERED.

11         Dated:       August 24, 2012                            /s/ Dennis L. Beck
     3b142a                                                  UNITED STATES MAGISTRATE JUDGE
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